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UNITED STATES OF AMERICA,
51 18 Cr. 567 (VSB)

- against - ; OPINION & ORDER

CHRISTOPHER COLLINS, et al.,
Defendants,

xX

 

VERNON S. BRODERICK, United States District Judge:

 

Currently pending before me are Defendants’ pretrial motions. Each Defendant moves
for an order directing the United States Attorney’s Office for the Southern District of New York
(the “Government” or “USAO”) to (1) conduct a Brady review of and/or produce certain files of
the United States Securities and Exchange Commission (the “SEC”), and materials seized or
obtained from certain individuals, (2) produce Rule 16 material seized or obtained from certain
individuals, and (3) produce the interview notes and the FBI interview reports (“FBI 302s”) of
two former staffer members of Defendant Christopher Collins. Defendant Christopher Collins
also moves for an order compelling the Government to produce materials bearing on the Speech
or Debate Clause of the United States Constitution.

Because the Superseding Indictment was not the product of a joint investigation between
the Government and the SEC, and the Government does not have the legal right to search the
non-responsive materials in, or produce the entire contents of, the devices and/or accounts at
issue, Defendants’ motions related to the SEC materials and Brady/Rule 16 materials is denied.

With regard to the two FBI 302s and related notes, the Government fulfilled its Brady obligation
by disclosing the substance of the exculpatory statements of the two former staffmembers. With
regard to Defendant Christopher Collins’s motion related to the Speech or Debate Clause,
because Defendant Collins has failed to demonstrate (1) that he is legally entitled to the
discovery he seeks, (2) that the Speech or Debate Clause was violated by the Government in
obtaining either the indictment or superseding indictment, or (3) that the Government—with the
exception of materials related to the Office of Congressional Ethics (“OCE”) investigation
related to Defendant Collins—intends to use documents or elicit testimony that implicate the
Speech or Debate Clause, Defendant Christopher Collins’s motion related to the Speech or
Debate Clause is denied. With regard to the OCE investigation, | find that the mere fact that
Defendant Christopher Collins was (1) the subject of an investigation by the OCE related to
Innate Immunotherapeutics Limited (“Innate”) and (2) interviewed in connection with that OCE
investigation, are not protected by the Speech or Debate Clause.

1 Background!

Defendant Christopher Collins is a Congressman representing the 27th District of New
York. (Sup. Ind. 43.) He was also a member of the Board of Directors of Innate, a
biotechnology company headquartered in Sydney, Australia, and held approximately 16.8% of
its stock, (U/d. 41,3). “Innate’s primary business was the research and development of a drug
called MIS416, which was intended to treat Secondary Progressive Multiple Sclerosis
(“SPMS”).” Cid. § 2.) As part of Innate’s work on developing MIS416, it undertook a drug trial
designed to determine its “clinical efficacy in treating SPMS” (the “Drug Trial”). Cd.)

“Because there were few or no alternative treatments for SPMS, MIS416 had the potential to be

 

! The facts described in this section are taken from the allegations in Indictment 18 Cr. 567 returned on August 7,
2018 and unsealed the following day (“Indictment” or “Ind.”; Doc. 2), and the Superseding Indictment $1 18 Cr.
567 filed on August 6, 2019 (“Superseding Indictment” or “Sup. Ind.”; Doc. 107).

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enormously profitable tf the Drug Trial was successful.” (d.)

As a member of Innate’s Board of Directors, Defendant Christopher Collins “regularly
had access to material, nonpublic information, including about MIS416 and the Drug Trial.” Ud.
43). On June 22, 2017, the initial results from Phase 2B of the Drug Trial were made available
to Innate’s Chief Executive Officer (“CEO”), and the results established that “MIS416 lacked
therapeutic value in the treatment of SPMS.” (Ud. §] 12, 15.) However, the results were not
publicly released, and Innate issued a press release stating that (1) it had requested that the
Australian Securities Exchange (“ASX”) halt trading in Innate stock because Innate had received
the Phase 2B results, and (2) that Innate expected that the halt would be lifted by June 27, 2017.
(Id. | 16.) Such a request was not unusual since the ASX “routinely halts trading at a company’s
request in situations in which the company has become aware of material information, either
positive or negative, but is not yet ready to announce that information to the public.” (Cd. ] 17.)
Although trading was halted in Australia, it was not halted in the United States over-the-counter
(“OTC”) market. Ud)

On June 22, 2017 at approximately 6:55 PM, Innate’s CEO sent an email concerning the
Drug Trial results in which he stated, in part, “I have bad news to report... the top line analysis
of the ‘intent to treat’ patient population (ie every subject who was successfully enrolled in the
study) would pretty clearly indicate[s] ‘clinical failure.’” (/d. § 20 (alteration in original).) The
CEO went on, stating “Top-line 12-month data . . . show no clinically meaningful or statistically
significant differences in [outcomes] between MIS416 and placebo ... No doubt we will want to
consider this extremely bad news... .” (/d. (alteration in original).) Defendant Christopher
Collins received the CEO’s email while attending the Congressional Picnic at the White House,

and responded at approximately 7:10 p.m., stating, in part, “Wow. Makes no sense, How are
these results even possible???” Ud. 921.) Between 7:10 and 7:11:23 p.m., Defendant
Christopher Collins called his son, Defendant Cameron Collins, twice; the second of these calls
lasted approximately 5 seconds. (Ud. 922.) Defendant Cameron Collins then called Defendant
Christopher Collins three times between approximately 7:14:16 and 7:15:27 p.m., and each call
lasted approximately 5 seconds. (/d.) Between 7:15:50 and 7:16:19 p.m., Defendant Christopher
Collins called Defendant Cameron Collins twice; the first call lasted approximately 7 seconds
and the second lasted approximately 6 minutes and 8 seconds. (/d.) Of these seven telephone -
calls, only the last call was answered. Ud | 23.) During that six minute call, Defendant
Christopher Collins told Defendant Cameron Collins, in substance, “that MIS416 had failed the
Drug Trial.” (/d.) Defendant Christopher Collins disclosed this information “knowing it was in
breach of his duties to Innate and anticipating that [Defendant Cameron Collins] would use it to
trade and tip others.” Ud.) Defendant Cameron Collins on June 22, 2017, proceeded to disclose
the results of the Drug Trial to the following individuals: his fiancée; her father, Defendant
Stephen Zarsky; Zarsky’s wife; and a friend of Defendant Cameron Collins. (Ud. $28.)
Defendant Christopher Collins did not trade himself, because “he was virtually precluded
from trading his own shares,” which were held in Australia “and thus subject to the Australian
trading halt.” (id. 924.) However, the shares of Innate owned by Defendant Cameron Collins,
Defendant Cameron Collins’s fiancée, Defendant Stephen Zarsky, Zarky’s wife, and Defendant
Cameron Collins’s friend could be traded in the domestic OTC market, (See id. ff] 24, 28-34.)
Indeed, Defendant Cameron Collins, Defendant Cameron Collins’s fiancée, Defendant Stephen

Zarsky, Zarky’s wife, and Defendant Cameron Collins’s friend sold most or all of their Innate

 

2 The Indictment also alleged that Defendant Christopher Collins did not trade himself, because he “was already
under investigation by the Office of Congressional Ethics (‘OCE’) in connection with his holdings in, and promotion
of, Innate’”—having been interviewed by OCE personnel on or about June 5, 2017. (ind. | 24.) The Superseding
indictment does not contain any references to the OCE investigation.

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shares between June 22 and June 26, 2017. (See id. J] 25-34.) These sales “preceded the public
release of the negative Drug Trial results, and were timed to avoid losses that they would have
suffered once that news became public.” (Ud. J 10.)

“On the night of Monday, June 26, 2017, after the U.S. markets had closed, Innate issued
a press release publicly stating, in substance and in part, that MIS416 had failed its Drug Trial
(the ‘Public Announcement’).” (Ud. 7 18.) Innate’s stock price crashed. Ud. 719.) Specifically,
on June 26, 2017, Innate’s stock had closed at approximately $0.455 per share on the United
States OTC market and on June 27, 2017, after the Public Announcement, the stock closed at
approximately $0.0351 per share, a drop of over 92% in value. (/d.)

HI. Procedural History

The Indictment was returned on August 7, 2018, and unsealed the following day. On
August 8, 2018, the SEC filed insider trading charges against Defendant Christopher Collins,
Defendant Cameron Collins, and Defendant Stephen Zarsky. (See generally 18-cv-7128, Doc.
1.) On that same day, the SEC filed insider trading charges against Defendant Cameron
Collins’s fiancée, (see generally 18-cv-7129, Doc. 1), and simultaneously filed documents
indicating that the SEC had reached a settlement with Defendant Cameron Collin’s fiancée, (see
18-cv-7129, Docs. 4, 4-1, 4-2).

On August 6, 2019, the Government filed Superseding Indictment $1 18 Cr. 567.7 (Doc.
107.) The Superseding Indictment charges (1) Christopher Collins, Cameron Collins, and
Stephen Zarsky with conspiracy to commit securities fraud in Count One; (2) Christopher

Collins, and Cameron Collins with securities fraud in Count Two; (3) Christopher Collins,

 

3 The Superseding Indictment, among other things, removed references to the OCE “investigation concerning
Congressman Collins’s holdings in, and promotion of, Innate” and the discussion regarding the allegedly misleading
staternent issued by Congressman Collins’s press office on June 28, 2017. (Doc. 108 at 1.)

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Cameron Collins, and Stephen Zarsky with securities fraud in Count Three; (4) Christopher
Collins, and Cameron Collins with securities fraud in Count Four; (5) Christopher Collins,
Cameron Collins, and Stephen Zarsky with securities fraud in Count Five; (6) Steven Zarsky
with securities fraud in Counts Six and Seven; (7) Cameron Collins with Securities Fraud in
Count Eight; (8) Christopher Collins, Cameron Collins, and Stephen Zarsky with conspiracy to
commit wire fraud in Count Nine, and (9) Christopher Collins, Cameron Collins, and Stephen
Zarsky with wire fraud in Count Ten. The Superseding Indictment also charges Christopher
Collins, Cameron Collins, and Stephen Zarsky with one count each of making false statements in
Counts Eleven, Twelve, and Thirteen, respectively.

On February 8, 2019, Defendant Christopher Collins filed his motion to compel
production of materials related to the Speech or Debate Clause of the United States Constitution,
(Doc. 62), and a memorandum in support of that motion, (Doc. 63). That same day, all
defendants filed a motion to compel production of Brady and Rule 16 material, (Doc. 64), a
memorandum, (Doc. 65), and declaration with exhibits, (Doc. 66), in support of that motion.
Both memoranda and the declaration were filed on the public docket in redacted form, and
several exhibits were filed under seal.* (See Docs. 63, 65-66.)

The Government filed an omnibus memorandum in opposition to these motions on March
8, 2019, (Doc. 69), and Defendants filed their reply memoranda on March 22, 2019, (Docs. 71-
73).

In a motion filed on April 2, 2019, the United States House of Representatives (“House”)

 

4 Because this Opinion & Order refers to these redacted documents and materials filed under seal, it will be filed
under seal and not on the public docket. I am sending a copy of the Opinion & Order to the parties, and
concurrently entering an order directing the parties to submit a joint letter indicating any redactions they propose and
the rationale for those redactions. I will then review the proposed redactions, determine if they are appropriate, and
file the redacted version of the Opinion & Order on the public docket.

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sought leave to file an amicus curiae brief, (Docs. 75-76.) By endorsement the following day, I
granted the request of the House and directed that it file its memorandum of law on the docket,
(Doc. 77), and that memorandum was filed on April 4, 2019, (Doc. 80).

On May 3, and May 10, 2019, I held oral argument on the Defendants’ motions. (Docs.
98, 100.) Prior to the oral argument held on May 3, I issued an order directing the parties to be
prepared to answer certain questions listed in the order. (Doc. 84.) The order also directed that
certain documents related to the motions be produced to me. (/d.) By order filed on June 10,
2019, I directed the Government to provide me with answers to certain questions and copies of
certain documents, including materials covered by Rule 6(e) of the Federal Rules of Criminal
Procedure such as, among other things, the grand jury transcript of the grand jury presentation
that led to the return of the Indictment. (Doc. 103.)

On August 7, 2019, I held a telephone conference to discuss the implications of the
Superseding Indictment for the pending motions.” (See generally Doc. 113.) As agreed during
the telephone conference, Defendants submitted their response to certain questions I posed
during the telephone conference related to, among other things, what impact, if any, the
Superseding Indictment had on the pending motions in a letter dated August 26, 2019. (Doc.
112.) The Government filed a response to that letter on September 3, 2019, (Doc. 115), and by
Order filed on September 4, 2019, I granted Defendants permission to file a reply to the
Government’s letter and directed the parties to appear for a conference on September 12, 2019 at

10:30 a.m., (Doc. 116). Defendants filed their letter in reply on September 6, 2019. (Doc. 117.)

 

5 Bach Defendant waived their right to participate in the August 7, 2019 telephone conference. (Docs. 109-111.)

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I.

Discussion

A. Motion for an Order Directing Production of Brady and Rule 16
Materials

Defendants seek an order compelling the Government to produce material pursuant to

Brady v. Maryland, 373 U.S. 83 (1963), and Federal Rule of Criminal Procedure 16 (“Rule 16”).

Specifically, Defendants seeks an order directing the Government to:

Review and disclose “all Brady material and information material to the defense
that is within the possession, custody, or control of the [SEC] that the government
directed the SEC not to produce to Defendants or which the SEC has withheld
from disclosure for any other reason” (“SEC Materials”);

Review and disclose “all Brady and Rule 16 material contained in the devices,
email accounts, iCloud accounts, and/or social media accounts belonging to”
Individual-1, Individual-2, Individual-3, Individual-5, and Individual-6, obtained
through search warrants or consent (“Brady/Rule 16 Materials”) “in the
government’s physical possession, actual custody, and complete control, or, in the
alternative,” produce complete copies of the materials contained in such devices
or accounts;

Produce the notes and Federal Bureau of Investigation (“FBI”) FD-302 reports
(“302” or “302s”) of interviews of two former staffers of Defendant Christopher
Collins who allegedly made exculpatory statements during their interviews.

(Brady/Rule 16 Mem. 1°; see also 8/26/19 Ltr. 1.7) With regard to the SEC Materials,

Defendants assert that such documents are in the Government’s possession, custody, and control

because the SEC and the Government conducted a joint investigation. Therefore, according to

Defendants, the Government must review the SEC Materials and disclose any Brady material.

(Brady/Rule 16 Mem. 3-4; 8/26/19 Ltr 1.) In response, the Government asserts that it did not

conduct a joint investigation with the SEC, and, in any event, it has already reviewed the SEC

 

§ “Brady/Rule 16 Mem.” refers to the Memorandum of Law in Support of Defendants’ Motion For The Production
of Brady And Rule 16 Material. (Doc. 65.)

78/26/19 Ltr.” refers to the letter filed on August 26, 2019 by all Defendants outlining their views of the
implications of the Superseding Indictment for Defendants’ discovery motions. (Doc. 112.)

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documents at issue for Brady information. (See Govt. Opp. 19-208; 5/3/19 Tr. at 36”.)

Defendants also argue that since the Government imaged the devices and/or copied the
entire electronic and/or social media accounts of certain individuals alleged to be uncharged co-
conspirators and downstream tippees!”, all the electronically stored material (“EST”) contained in
those devices and accounts are in the Government’s possession, custody, and control and must be
searched for Brady/Rule 16 Materials or complete images of the devices and/or copies of the
accounts must be tumed over to Defendants. (Brady/Rule 16 Mem. 4~5; Defs.’ Aug. 26 Ltr. 1.)
The Government argues that it reviewed the ESI contained on the devices and in the accounts for
Brady/Rule 16 Material and produced such material when the devices and accounts were
reviewed for responsive documents, and the Government does not believe it has the authority to
either produce all of the electronic material or review electronic material on the devices and in
accounts it has determined to be non-responsive. (See Govt. Opp. 22-25.)

With regard to the statements of the two former staffers, Defendants seek an order
directing the production of the interview notes and the FBI interview reports (“FBI 302s”) so that
they can understand “nature, scope, and full context of the exculpatory statements.” (Brady/Rule
16 Mem. 5—6.) In response, the Government asserts that (1) Defendants are not entitled to the
interview notes and the FBI 302s, and (2) it has met its obligations by providing descriptions of

the substance of the exculpatory statements. (See Govt. Opp. 24-25.)

 

® “Govt, Opp.” refers to the Government’s Memorandum of Law in Opposition to Defendants’ Pretrial Motions.
(Doc, 69.)

9 «5/3/19 Tr.” refers to the transcript of the oral argument held on May 3, 2019. (Doc. 98.)

0 The original Indictment identifies these uncharged co-conspirators as CC-1, CC-2, CC-3, CC-5, and CC-6, (Ind. ]
4—7,) The Superseding Indictment identifies the same individuals as Individual-1, Individual-2, Individual-3,
Individual-5, and Individual-6, but recharacterizes their involvement. (See Sup. Ind. [ 4-7.) Individual-1 and
Individual-2 are alleged to be uncharged members of the conspiracy, while the remaining Individuais are now
alleged to be downstream tippees, but not members of the charged conspiracy. (See id. 4-7, 28-41; see also
8/6/19 Ltr. 1-2). “8/6/19 Ltr.” refers to the letter from the Government regarding the Superseding Indictment, filed
on August 6, 2019. (Doc. 108.)
I find that because the Superseding Indictment was not the product of a joint investigation
between the Government and the SEC, and the Government does not have the legal right to
search the non-responsive materials in, or produce the entire contents of, the Individuals’ devices
and/or accounts, Defendants’ motion related to the SEC Materials and Brady/Rule 16 Materials
is denied. With regard to the FBI 302s and related notes, the Government fulfilled its Brady
obligation by disclosing the substance of the exculpatory statements; therefore, Defendants’
motion seeking the production of the FBI 302s and related notes is denied.

1. Applicable Law

a. Disclosure of Brady Material

 

“The prosecution’s affirmative duty to disclose evidence favorable to a defendant can
trace its origins to early 20th-century strictures against misrepresentation and is of course most
prominently associated with [the Supreme Court’s] decision in Brady v. Maryland,” 373 U.S. 83
(1963). Kyles v. Whitley, 514 U.S. 419, 432 (1995). “[Tyhe individual prosecutor has a duty to
learn of any favorable evidence known to the others acting on the government’s behalf in the
case, including the police.” fd. at 437. “The basic rule of Brady is that the Government has a
constitutional duty to disclose favorable evidence to the accused where such evidence is
‘material’ either to guilt or to punishment.” United States v. Coppa, 267 F.3d 132, 139 (2d Cir.
2001) (quoting Brady, 373 U.S. at 87). “Favorable evidence includes not only evidence that
tends to exculpate the accused, but also evidence that is useful to impeach the credibility of a
government witness.” fd. “Brady does not, however, require the prosecution to disclose al/
exculpatory and impeachment material; it need disclose only material ‘that, if suppressed, would
deprive the defendant of a fair trial.’” fd. at 135 (quoting United States v. Bagley, 473 U.S. 667,

675 (1985)). “[A] defendant is deprived of a fair trial only where there is a reasonable

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probability that the government’s suppression affected the outcome of the case... , or where the
suppressed evidence ‘could reasonably be taken to put the whole case in such a different light as
to undermine confidence in the verdict.’” Jd. (quoting Kyles v. Whitley, 514 U.S. 419, 435
(1995). “Brady material must be disclosed in time for its effective use at trial.” Jd.

The Government’s “Brady obligations extend only to materials within prosecutors’
possession, custody or control or, in appropriate cases, that of the Department of Justice, perhaps
another part of the Executive Branch, or a comparable state authority involved in the federal
prosecution.” United States v. Blaszczak, 308 F. Supp. 3d 736, 742 (S.D.N.Y. 2018) (footnote
omitted). A prosecutor’s duty to review documents in the possession, custody, or control of
another agency arises where the Government conducts a “joint investigation” with another
agency. See United States v. Rigas, No. 02-CR-1236 (LBS), 2008 WL 144824, at #2 (S.D.N.Y.
Jan. 15, 2008) (holding that there was “no joint investigation with the SEC” and therefore the
Government did not need to produce documents in the custody of the SEC), aff'd, United States
vy, Rigas, 583 F. 3d 108 (2d Cir. 2009); SEC v. Stanard, No. 06 Civ. 7736 (GEL), 2007 WL
1834709, at *3 (S.D.N.Y. June 26, 2007) (holding that FBI and SEC did not conduct a joit
investigation where they participated in joint interviews but only the FBI took notes). Although
the Second Circuit has not specifically addressed what criteria or factors a district court should
evaluate when making a determination concerning whether an investigation is a joint
investigation for purposes of triggering an extension of the Government’s Brady search
obligation, courts in this district have addressed the issue. In this regard, Judge Paul Oetken’s
decision in United States v. Middendorf, 18-CR-36 (PO), 2018 WL 3956494, (S.D.N.Y. Aug.
17, 2018), is instructive. Judge Oetken found that “[a] number of factors are relevant in

determining whether the prosecution conducted a ‘joint investigation,’ including whether the

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other agency: (1) participated in the prosecution’s witness interviews, (2) was involved in
presenting the case to the grand jury, (3) reviewed documents gathered by or shared documents
with the prosecution, (4) played a role in the development of prosecutorial strategy, or (5)
accompanied the prosecution to court proceedings.” Jd. at *4.
b, Searches Pursuant to the Fourth Amendment

According to the Fourth Amendment, “no warrants shall issue, but upon probable cause,
supported by oath or affirmation, and particularly describing the place to be searched, and the
persons or things to be seized.” U.S. Const. amend. IV. Fourth Amendment rights are personal.
Rakas vy. Hlinois, 439 U.S. 128, 133 (1978). In order to assert the protections of the Fourth
Amendment a person “must show that he had a ‘legitimate expectation of privacy’ in the place
searched.” United States v. Hamilton, 538 F.3d 162, 167 (2d Cir. 2008) (quoting Rakas y.
Illinois, 439 U.S. 128, 143 (1978)); see also United States v. Villegas, 899 F.2d 1324, 1333 (2d
Cir. 1990) (“A defendant has no right to have evidence suppressed on Fourth Amendment
grounds unless the breached privacy expectation was his own rather than that of a third party.”).
“This inquiry involves two distinct questions: first, whether the individual had a subjective
expectation of privacy; and second, whether that expectation of privacy is one that society
accepts as reasonable.” Hamilton, 538 F.3d at 167 (citing Katz v. United States, 389 U.S. 347,
361 (1967) (Harlan, J., concurring)).

2. Application
a. SEC Materials

As support for their claim that the Government and the SEC conducted a joint

investigation Defendants point to the following: (1) the reference by Special Agent Nicholas

Anderson to his reliance on, among things, his “review of notes of conversations with

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representatives of the [SEC]” as a basis for his affidavit seeking historical cellphone location
information and therefore “the fruits of the SEC investigation were relied on to obtain search
warrants in the criminal investigation”; (2) the fact that information gathered from search
watrants executed in the criminal investigation was shared with the SEC; (3) the participation of
SEC attorneys in witness interviews with prosecutors from the Government; (4) the alleged
reliance on the interviews to bring the civil and criminal cases against Defendants; (5) the
alleged reliance by the Government “on a considerable number of documents from the SEC
through an access request approved by the SEC”; and (6) the circumstances of a July 18, 2018 a
meeting with defense counsel for Defendants Christopher Collins and Cameron Collins—despite
a request for separate meetings without the participation of the SEC—attended by prosecutors,
including leadership of the USAO SDNY, and both Co-Directors of the SEC’s Enforcement
Division.” (Brady/Rule 16 Mem. 6-8.)

As an initial matter, Defendants concede that “many materials were produced by the
SEC” as part of the “SEC’s agreement to produce a significant portion of its investigative file to
Defendants” pursuant to a consent order issued staying the SEC’s civil case (“Consent Order”).
(Id. at 9.) Specifically, “the SEC agreed to produce its investigative file minus certain materials
the government directed it to withhold until the production of Jencks Act/§3500 material in this
case,” (/d. at 19.) Based upon the descriptions provided by the parties, it appears that only a
limited number of unproduced documents remain in the sole possession, custody, and control of
the SEC. Defendants now seek production of these carved out documents, described as:
“Transcripts of testimony and notes of or memoranda describing interviews with; written
statements made or adopted in the course of an interview by; or correspondence concerning

interviews of any person whom the Government designates to the SEC as an individual who may

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be called as a witness in the Criminal Action.” (/d. at 9.) Defendants claim that “{tJhe
government’s position creates a hazardous situation where it has directed the SEC not to produce
material to Defendants, but then asserts that it is not obligated to review the material withheld at
its direction.” (Ud. at 10.) This argument is misplaced. The Government “obtained [these
documents]... reviewed them for Brady, and [is going] to withhold them and produce them on
the schedule that the Court sets for 3500 material.” (5/3/19 Tr. 36.) In other words, the
Government has complied with its Brady obligations as it relates to these carved out materials,
and, in any event, those carved out materials will be produced to Defendants to the extent they
are witness statements required to be so produced pursuant to 18 U.S.C. § 3500.!' Defendants
are not entitled to any additional remedy related to these materials.

With regard to Defendants’ assertion that the SEC and the Government conducted a joint
investigation, a review of the circumstances of the investigation demonstrates that the
investigation was not joint. With regard to witness interviews, the SEC and the Government
both participated in only 16 of 60 interviews of 37 distinct witnesses; witnesses were told that
“the two agencies were conducting parallel but separate investigations”; the USAO arranged all
but three of the interviews; virtually all of the interviews were conducted at the offices of the
USAO; the USAO did not participate in interviews held at the offices of the SEC; during
interviews in which both the USAO and SEC participated that were conducted pursuant to a

proffer agreement, “the witness executed separate proffer agreements with the USAO and the

 

‘' Tn addition, with regard to other materials purportedly in the “SEC’s possession, custody, or control relating to the
investigation that the SEC has net produced, whether because of the government’s affirmative request to hold it
back or because the SEC withheld the information for some other reason,” there is no evidence that, other than
potential § 3500 material, documents related to the underlying facts at issue in the case exist, as opposed to the work
product containing the opinions and analysis of the SEC, Such work product would not ordinarily be subject to
disclosure, and Defendants have not demonstrated that they would be entitled to the production of such work
product.

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SEC”; the SEC did not take notes during interviews in which both agencies participated; and the
SEC did not~-with the exception of one interview whose report was produced to Defendants in
civil discovery—create reports of the witness interviews. (5/3/19 Tr. 38-39; 6/14/19 Ltr. 1-2)".
In addition, the SEC did not review and comment on drafts of the interview reports, does not
have any notes from the interviews, does not have copies of the interview reports, (5/3/19 Tr. 39,
42, 43, 53; 5/10/19 Tr. 83-84"; 5/9/19 Ltr. 2)", and the SEC has not participated in interviews
that have been conducted since the Indictment was filed, (5/3/19 Tr. 59). These facts
demonstrate that the SEC’s involvement in the interviews could not be considered to have been
that of a partner so as to support a finding that the USAO and SEC conducted a joint
investigation.

Similarly, personnel, information and documents were not shared in any material way
between the USAO and SEC, and each agency made charging decisions independently of each
other. For example, (1) no one from the SEC was designated a special assistant United States
Attorney to work on the criminal investigation; (2) no one from the SEC was part of the USAO’s
investigative team; (3) although the agencies “consulted” with regard to their “respective
strategies over the course of [the] parallel investigations,” neither agency gave the other any
directions concerning “what to do or what avenues of investigation to pursue,”; (4) no one from
the SEC attended sessions of the grand jury; (5) transcripts of the grand jury presentations were
not shared with the SEC; (6) although the SEC shared some documents it obtained using

subpoenas, the USAO did not share any documents it obtained using grand jury subpoenas with

 

12 «6/14/19 Ltr.” refers to the letter filed by the Government on June 14, 2019. (Doc. 104.)
8 «$/40/19 Tr.” refers to the transcript of the oral argument held on May 10, 2019. (Doc. 100.)
14 «5/9/19 Ltr.” refers to the letter filed by the Government on May 9, 2019. (Doc. 97.)

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the SEC;!5 (7) the SEC was not involved in the USAO’s discussion concerning who should be
charged criminally and the USAO did not share drafts of the Indictment; (8) the USAO did not
see or consult about the SEC’s action memo; (9) the USAO was not involved in the SEC’s
decision-making process concerning who should be charged civilly by the SEC; and (10) the
USAO did not share the prosecution memorandum used to make the criminal charging decision.
(5/3/19 Tr. 53-55.)

These facts distinguish this case from the circumstances addressed by Judge Jed Rakoff
in United States v. Gupta, 848 F. Supp. 2d 491 (S.D.N.Y. 2012), and Judge Paul Gardephe in
United States vy. Martoma, 990 F, Supp. 2d 458 (S.D.N.Y. 2014), upon which Defendants rely.
In Gupta, the Government and the SEC jointly interviewed “no fewer than 44 witnesses,” and an
SEC attorney, “within a day or two after each interview, prepared memoranda that summarized
what he felt were the relevant parts of the interviews.” Gupta, 848 F. Supp. 2d at 494. Here, the
SEC and the Government both participated in only 16 of 60 interviews, and the SEC did not take
notes during interviews and does not have any notes from the interviews. In Martoma, the issue
was “whether the USAO’s Brady and Giglio obligations extend[ed] to communications between
the SEC and [counsel for two witnesses expected to testify at trial who allegedly supplied non-
pubiic information to Martoma] that are in the sole possession of the SEC.” As an initial matter,
there has been no suggestion or evidence presented to me that the SEC independently
communicated with counsel for witnesses in this case as in Martoma. Indeed, the USAO
arranged all but three of the 60 witness interviews. In addition, Judge Gardephe found that the

USAO and SEC conducted a joint investigation because (1) “the SEC and the USAO jointly

 

'S Materials and documents deemed responsive to search warrants and/or obtained through use of court orders issued
pursuant to Title 18, United States Code, Section 2703 were shared with the SEC and produced to defense counsel in
this case as part of discovery. (5/3/19 Tr. 56.)

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conducted twenty interviews of twelve witnesses” during the investigation of Martoma; (2) the
SEC shared documents with the USAO, including all documents it received from SAC Capital,
Martoma’s employer; (3) “[t]he SEC and the USAO also coordinated their efforts in conducting
depositions,” and (4) the SEC provided the USAO with updates in the middle of and after the
deposition of the founder and principal of SAC Capital. Martoma, 990 F. Supp. 2d at 461. Here,
the level of participation in interviews by the SEC, and coordination and sharing of information
between the SEC and the Government does not rise to the level documented in Martoma and do
not support a finding that there was a joint investigation.

The facts here do not support a finding that the Government and the SEC were
conducting either a joint investigation or the type of joint fact-gathering sufficient to trigger the
Government’s Brady obligation. Even if the Government and the SEC were engaged in joint
fact-finding in this case—and they were not—unlike in Gupta and Martoma, there is no evidence
suggesting that the SEC is in sole possession of notes of witness interviews or communications
with counsel for witnesses.

b. Materials of Individuals

With regard to the Defendants’ request for an order directing the Government to search
the ESI of the Individuals for Brady/Rule 16 Material, the Government asserts that such a search
was conducted at the time the Government searched the ESI for responsive documents. (See
Govt. Opp. 22-25; 5/3/19 Tr. 61-64.) In light of this representation the issue to be determined is
whether or not the Government must either go back and review the non-responsive ESI for
Brady/Rule 16 Material or turn over the entire contents of the electronic devices and/or accounts
of the Individuals.

The ESI encompassed within Defendants’ request is limited. The complete contents of

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the electronic devices for Individual-1 and Individual-2 have already been produced to
Defendants, (6/14/19 Ltr, 2.) With regard to the ESI from the devices of Individual-3,
Individual-5, and Individual-6, the Government represented that it “is not in possession of
materials belonging to [Individual-3] or [Individual-6] beyond those that have already been
provided in discovery.”! Ud.) Although the Government is in possession of non-responsive
iCloud data for Individual-5, “Individual-5 has declined, through counsel, to consent to further
review of this data by either the Government or the defendants.” Cd.) Therefore, the issue is
whether or not the Government can be compelled to either conduct another search of Individual-
5’s non-responsive iCloud data for Brady/Rule 16 Material or to turn over the entirety of
Individual-5’s iCloud data over Individual-5’s objection.

As an initial matter, as noted above, the Government already conducted a search for
Brady/Rule 16 Material when it searched Individual-5’s iCloud data for responsive documents.
(See Govt. Opp. at 22-25; 5/3/19 Tr. at 61-64.) Based on this search, the Government asserts that
it “has complied with its Brady obligations, and there is no basis for the defendants to demand
that the Government essentially check the same materials again,” (Govt. Opp. at 23.) I agree.
Defendants have not articulated a sufficient reason to believe that the Government’s efforts were
deficient such that it has failed to meet its Brady obligations. Therefore, I find that the
Government has met its Brady obligations with regard to Individual-5’s iCloud data.

Even if the Government’s search of Individual-5’s iCloud data was an insufficient search
for Brady material, Defendants’ assertion that since the Government copied and/or imaged the

entirety of the contents of the electronic devices of the Individuals, including the iCloud data of

 

'6 Despite being in possession of the ESI for Individwal-1, Individual-2, Individual-3, and Individual-6, Defendants
de not claim that this ESI contained any Brady/Rule 16 Material. Presumably, if such material existed, they would
have included that fact to support their motion.

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Individual-5, the Government is entitled to conduct another search of the non-responsive
material for Brady/Rule 16 Material, is legally flawed. (See Brady/Rule 16 Mem. at 22.)

The parties do not dispute that Individual-5 has a privacy interest in his iCloud data, and
that the Government obtained that data apparently through the use of a search warrant.!”
Therefore, the Government’s possession of and ability to review Individual-5’s iCloud data is
necessarily circumscribed by the Fourth Amendment. Here, although it appears that Individual-5
did not move to quash the search warrant for Individual-5’s iCloud data, “[Individual-5] has
declined, through counsel, to consent to further review of this data by either the Government or
the defendants.” (6/14/19 Ltr. 2.) The Government—having conducted a search of Individual-
5’s iCloud data consistent with the Fourth Amendment and a search warrant—does not have the
legal authority to go back and search materials that are non-responsive, 1.¢e., outside the scope of
the search warrant. Defendants argue that “while the search warrants permit the government to
undertake a search for the purpose of furthering its investigation, Brady and Due Process require
the government to review everything in its possession, custody, or control.” (Brady/Rule 16
Mem. 22.) Here, Defendants appear to be arguing that the Government’s Brady obligation is
superior to and takes precedence over an individual’s Fourth Amendment rights. The basic
premise of Defendants argument is flawed; a search warrant was required for the Government to
legally seize and search Individual-5’s iCloud data. In addition, Defendants do not cite any case

law to support their proposition that the Government’s Brady obligation gives it the legal right to

search Individual-5’s iCloud data over Individual-5’s objection, nor do Defendants explain how

 

7 In reviewing the submissions of the parties, | could not definitively determine that the Government used a search
warrant to gain access to Individual-5’s iCloud data. However, even if the Government gained access to Individual-
5’s iCloud data through use of Individual-5’s execution of a consent to search, it is unlikely, and there is no evidence
in the record to suggest, that such a consent gives the Government the ability to search the iCloud data in perpetuity
without Individual-5’s consent.

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such a search would not be inconsistent with Individual-5’s Fourth Amendment rights.

iB. Motion for Production of the Interview Notes and FBI Interview
Reports

Defendants claim that the Government has not met its Brady obligation with regard to
exculpatory statements made by two former staff members of Defendant Christopher Collins,
and request an order directing the production of the interview notes and the FBI 302s.

According to Defendants, the production of the notes and FBI 302s is necessary to enable them
to understand “the nature, scope, and full context of the exculpatory statements.” (Brady/Rule
16 Mem. 5--6.) Because the Government has met its Brady obligation with regard to the
exculpatory statements in question, Defendants are not entitled to the production of the notes or
FBI 302s at this stage of the case.

As an initial matter, Defendants do not claim that the Government failed to disclose the
exculpatory statements. Indeed, Defendants concede that the Government “provided abbreviated
descriptions ‘in substance and in part’ of limited, unquestionably exculpatory statements by these
two witnesses.” (/d. at 5.) Defendants do not cite case law that supports their argument that the
Government is required to produce primary materials containing exculpatory statements in order
to meet its Brady obligation. This is not surprising because such disclosure is not legally
required; rather, in order to meet its Brady obligation the Government need only disclose “the
essential facts which would enable [the defendants] to call the witness[es] and thus take
advantage of any exculpatory testimony that [they] might furnish.” United States v. Stewart, 513
F.2d 957, 960 (2d Cir. 1975). Defendants do not claim that the Government failed to disclose
the essential facts or that the disclosure does not enable them to “take advantage of any
exculpatory testimony that [witnesses] might furnish.” Jd, Therefore, Defendants’ motion for an

order directing the production of the notes and FBI 302s could be denied because of this failure

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alone. In any event, I have independently reviewed the summaries of the exculpatory statements
provided by the Government, and the notes and FBI 302s of the witnesses’ interviews, and find
that summaries provide disclosure sufficient to meet the Government’s Brady obligation.
Therefore, the Government has met its Brady obligation by providing summaries of the two
witnesses exculpatory statements. The fact that the Government may have produced notes
and/or FBI 302s to meet its Brady obligation with regard to the exculpatory statements made by
other witnesses is of no legal significance. In addition, contrary to Defendants suggestion,
(Brady/Rule 16 Mem. 11, 29-30), the Government is under no legal obligation to explain why it
chose to summarize the statements at issue rather than produce the notes and FBI 302s, nor is it
obligated to show it would be prejudiced by the production of the notes and FBI 302s related to
the two witnesses.

Cc, Motion to Compel Production of Materials Bearing on the Speech or
Debate Clause"

1. Applicable Law

The Speech or Debate Clause of the United States Constitution provides that “for any
Speech or Debate in either House, [Senators and Representatives] shall not be questioned in any
other Place.” U.S. Const., art. I, § 6, cl. 1. “The Speech or Debate Clause was designed to
assure a co-equal branch of the government wide freedom of speech, debate, and deliberation
without intimidation or threats from the Executive Branch. It thus protects Members against
prosecutions that directly impinge upon or threaten the legislative process.” United States v.
Gravel, 408 U.S. 606, 616 (1972). However, according to the Supreme Court, “the Speech or

Debate Clause must be read broadly to effectuate its purpose of protecting the independence of

 

18 References in this section to Defendant Collins are meant to identify Defendant Christopher Collins.

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the Legislative Branch, but no more than the statutes we apply, was its purpose to make
Members of Congress super-citizens, immune from criminal responsibility.” United States v.
Brewster, 408 U.S, 501, 516 (1972),
a. Activities Protected by the Speech or Debate Clause

The Speech or Debate Clause provides testimonial immunity as well as immunity from
criminal or civil liability for “legislative acts or the motivation for actual performance of
legislative acts.” Jd. at 509. The protection from prosecution or civil liability is derived from the
freedom from questioning, the rationale being that “[r]evealing information as to a legislative act
... to ajury would subject a Member to being ‘questioned’ in a place other than the House or
Senate. ...” United States v. Helstoski, 442 U.S. 477, 490 (1979). The Clause protects matters
that are an “integral part of the deliberative and communicative processes by which Members
participate in committee and House proceedings with respect to the consideration and passage or
rejection of proposed legislation or with respect to other matters which the Constitution places
within the jurisdiction of either House.” Gravel, 408 U.S. at 625. “A legislative act has
consistently been defined as an act generally done in Congress in relation to the business before
it. In sum, the Speech or Debate Clause prohibits inquiry only into those things generally said or
done in the House or the Senate in the performance of official duties and into the motivation for
those acts.” Brewster, 408 U.S. at 511. Legislative acts include “delivering an opinion, uttering
a speech, or haranguing in debate; proposing legislation; voting on legislation; making,
publishing, presenting, and using legislative reports; authorizing investigations and issuing
subpoenas; and holding hearings and introducing material at committee hearings.” Jn re
McLean, No, 2:18-cv-201 (WKS), 2019 WL 2353453, at *4 (D.Vt. 2019) (internal quotations

marks omitted). The protections of the Speech or Debate Clause extend to Congressional

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information-gathering activities, since “the power to investigate is inherent in the power to make
laws[,] because ‘[a] legislative body cannot legislate wisely or effectively in the absence of
information respecting the conditions which the legislation is intended to affect or change.’”
Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 504 (1975) (second alteration in original)
(internal quotation marks omitted).

The Speech or Debate Clause also prohibits the Government from charging legislative
action as an offense or offering evidence of a member’s legislative action against him. Myers,
635 F.2d at 937 (Under the Speech or Debate Clause, “[c]onduct that falls within the broad
category of legisiative action may not be charged as an offense ..., nor may evidence of a
Member’s legislative action be offered in evidence against him.”). The protection also extends
to things done by staff members of a Senator or Representative “which would have been.
legislative acts, and therefore privileged, if performed by [a Senator or Representative.]” Gravel,
408 U.S. at 616.

b. Activities not Protected by the Speech or Debate Clause

The Supreme Court in Brewster discussed various acts that are not protected by the
Speech or Debate Clause, stating that

[mJembers of the Congress engage in many activities other than the purely

legislative activities protected by the Speech or Debate Clause. These include a

wide range of legitimate “errands” performed for constituents, the making of

appointments with Government agencies, assistance in securing Government
contracts, preparing so-called “news letters” to constituents, news releases, and
speeches delivered outside the Congress. The range of these related activities has
grown over the years... . But it has never been seriously contended that these
political matters, however appropriate, have the protection afforded by the Speech
or Debate Clause.

Brewster, 408 U.S. at 512; see also Gravel, 408 U.S. at 625 (“That Senators generally perform

certain acts in their official capacity as Senators does not necessarily make all such acts

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legislative in nature. Members of Congress are constantly in touch with the Executive Branch of
the Government and with administrative agencies—they may cajole, and exhort with respect to
the administration of a federal statute—but such conduct, though generally done, is not protected
legislative activity.”). Speech or Debate Clause protection “does not prohibit inquiry into illegal
conduct simply because it has some nexus to legislative functions.” Brewster, 408 U.S. at 528.
Nor does the Clause “prohibit inquiry into activities that are casually or incidentally related to
legislative affairs but not a part of the legislative process itself.” Brewster, 408 U.S. at 528.

Moreover, an indictment “is not subject to dismissal on the ground that there was
‘inadequate or incompetent’ evidence before the grand jury.” United States v. Myers, 635 F.2d
932, 941 (2d Cir, 1980); see also United States v. Williams, 644 F2d. 950, 952 (1981); United
States v. Murphy, 642 F.2d 699, 700 (2d Cir. 1980). In other words, the fact that a grand jury
may have heard some evidence protected by the Speech or Debate Clause does not alone warrant
dismissal of an indictment. Myers, 635 F. 2d at 941; see also United States v. Jefferson, 546
F.3d 300, 312 (4th Cir. 2008) (“a facially valid indictment is not subject to dismissal simply
because the grand jury may have considered improper evidence, or because it was presented with
information or evidence that may contravene a constitutional privilege.”). Indeed, where a grand
jury is presented with “significant and sufficient evidence unprotected by the Speech or Debate
Clause” a judge need not review grand jury minutes that led to an indictment for protected
material. See Murphy, 642 F.2d at 700.

c. Protection From Disclosure

Neither the Supreme Court nor the Second Circuit has addressed whether or not the

Speech or Debate Clause protects a legislator from having to disclose materials covered by the

Clause. Moreover, there is a split in the Circuits concerning whether or not the Speech or Debate

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Clause affords protection from the disclosure of protected materials. The Third and Ninth
Circuits hold that the Speech or Debate Clause does not limit the Executive Branch’s ability to
compel disclosure of records that may include such materials. See In re Fattah, 802 F.3d 516,
529 (3d Cir. 2015) (holding that although “the Speech or Debate Clause prohibits hostile
questioning regarding legislative acts in the form of testimony to a jury, it does not prohibit
disclosure of Speech or Debate Clause privileged documents to the Government. Instead, as we
have held before, it merely prohibits the evidentiary submission and use of those documents.”);
United States v. Renzi, 651 F.3d 1012, 1035-39 (9th Cir. 2011) (holding that the Speech or
Debate Clause does not include the privilege from disclosure when disclosure is sought in the
context of an investigation into otherwise unprotected activity), The D.C. Circuit, on the other
hand, has held that the Clause precludes the compelled disclosure of privileged documents. See
United States v. Rayburn House Office Bldg., 497 F.3d 654, 655 (D.C. Cir.2007) (“the
testimonial privilege under the [Speech or Debate] Clause extends to non-disclosure of written
legislative materials.”); Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408, 421 (D.C.
Cir. 1995) (“A party is no more entitled to compel congressional testimony—or production of
documents—than it is to sue congressmen.”) The D.C. Circuit in Rayburn noted that “a key
purpose of the [Speech or Debate Clause] privilege is to prevent intrusions in the legislative
process and that the legislative process is disrupted by the disclosure of legislative material,
regardless of the use to which the disclosed materials are put ... . The bar on compelled

disclosure is absolute... .” Rayburn, 497 F.3d at 660 (citations omitted).

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2. Application

Defendant Collins asserts that although he believes that the Speech or Debate Clause has
been violated, his motion only seeks discovery “to assess the complete scope and severity of the
government’s abuses and the extent to which those infringements have tainted the evidence or
indictment in this case.” (Collins Speech/Debate Mem. 1.)!? He further asserts that he needs the
discovery to permit him “to fully protect his Legislative rights and to allow [me] to consider the
entire context when fashioning an appropriate remedy, whether it be suppression of evidence,
dismissal of some or all of the counts in the indictment, or otherwise.” (/d. at 1-2.) To these
ends, Defendant Collins brings this motion pursuant to the Speech or Debate Clause, seeking an
“order directing the government to identify and produce three discrete categories of discovery
directly bearing on the privilege established by the Speech or Debate Clause: (a) the complete
contents of all email accounts, iCloud accounts, social media accounts, document collections,
and electronic devices obtained by the government from current and former Congressional
staffers; (b) all statements made to the government by any current and former Congressional
staffer; and (c) all testimony and materials provided to the grand jury that reference or concern
any investigation by the U.S. House of Representatives Office of Congressional Ethics (“OCE”)
or Committee on Ethics related to Congressman Collins.” (Ud. at 2.) In response, the
Government argues that Defendant Collins’s request for an order directing the production of
materials he claims may include materials covered by the Speech or Debate Clause is not
supported by the facts he identifies or the case law he cites. (Govt. Opp. 28.) The Government

is correct.

 

9 “Collins Speech/Debate Mem.” refers to the Memorandum of Law in Support of Christopher Collins’ Motion to
Compel Limited Production of Materials Bearing on the Speech or Debate Clause of the Constitution, filed on
February 8. 2018. (Doc. 63.)

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Defendant Collins has failed to (1) demonstrate that he is legally entitled to the discovery
he seeks, (2) that the Speech or Debate Clause was violated by the Government in obtaining the
Indictment or Superseding Indictment, or (3) that the Government—with the exception of
materials related to the OCE investigation—intends to use documents or elicit testimony that
implicate the Speech or Debate Clause. With regard to the OCE investigation, I find that the
mere facts that Defendant Collins was the subject of an investigation by the OCE related to
Innate and that he was interviewed in connection with that investigation are not themselves
protected by the Speech or Debate Clause.

a. Defendant Collins is not Entitled to Discovery

Defendant Collins primarily relies on the line of cases from the D.C. Circuit and a
decision by Judge Gardephe to argue that the Speech or Debate Clause includes a non-disclosure
privilege, and that the production of the requested discovery “is a necessary prerequisite for the
Congressman to be put into a position in which he can effectively file substantive motions to
suppress and to seek and obtain further relief sufficiently in advance of trial as required by this
Court.” (Collins Speech/Debate Mem. 22.) As an initial matter and as Judge Gardephe
acknowledged, neither the Supreme Court nor the Second Circuit have found that the Speech or
Debate Clause includes a non-disclosure privilege, SEC v. Comm. on Ways & Means of U.S.
House of Reps., 161 F. Supp. 3d 199, 238 (S.D.N.Y. 2015), and; therefore, the cases cited by
Defendant Collins are not binding on me. (See Collins Speech/Debate Mem. 9-10.) In any
event, the cases cited from the D.C. Circuit are inapposite because they either involved search
warrants, subpoenas, and/or requests for documentary evidence (1) from the office of an elected
official and/or a staff member or (2) from Congress, and/or (3) concerned the application of the

non-disclosure privilege to ‘legislative acts or the motivation for actual performance of

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legislative acts.’” Brewster, 408 U.S. at 509. (id. at 8-11.)

Here, as discussed further below, “the allegations in this case have nothing whatsoever to
do with the [Defendant Collins’s] legislative acts.” (See Govt. Opp. at 31.) In connection with
its investigation of Defendant Collins’s alleged criminal conduct in his personal capacity, the
Government obtained search warrants for the personal electronic devices and online accounts of,
among others, certain current and former staff members of Defendant Collins. Unlike the cases
cited by Defendant Collins, the searches at issue did not involve the Congressional offices and/or
official accounts of current and/or former staffers, (5/10/19 Tr. 4), and the materials sought
related to Defendant Collins’s alleged criminal conduct and not legislative acts or the motivation
for such acts,”°

Moreover, the facts in Rayburn were unique, and are not analogous to the facts presented
in this case. In Rayburn, the search conducted was of the congressional office of Congressman
William J. Jefferson, “a location where legislative materials were inevitably to be found,”
Rayburn, 497 F.3d at 661, and involved the search of the Congressman’s documents for “non-
legislative evidence,” id. at 656. The D.C. Circuit, after finding that the protections afforded
under the Speech or Debate Clause include a non-disclosure privilege, also found that the review
procedures “outlined in the warrant affidavit would not have avoided the violation of the Speech
or Debate Clause because they denied the Congressman any opportunity to identify and assert

the privilege with respect to legislative materials before their compelled disclosure to Executive

 

20 Although one staffer “consented to the release of his privileged and nonresponsive data to Congressman Collins’s
attorneys for the limited purpose of reviewing the data for Speech or Debate Clause materials, the other has
refused.” (Govt. Opp. 36 1.9.)

In addition to the reasons stated above, my previous ruling that the Government does not have the right to search
non-responsive materials gathered pursuant to the search warrants issued for the electronic devices and/or accounts
of the Individuals, (supra Part I11.A.2.b.), also applies to non-responsive materials gathered from the devices and
accounts of current and former staffers of Defendant Collins.

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agents,” Jd. at 662. Here, in stark contrast, the searches did not involve congressional offices or
official accounts but were of the personal electronic devices and accounts of certain current
and/or former staff members of Defendant Collins. Defendant Collins is essentially requesting
that I extend the non-disclosure privilege to the facts and circumstances presented here. I decline
to do so. In addition, I find that even if the protections provided by the Speech or Debate Clause
includes a non-disclosure privilege—an issue that neither the Supreme Court nor the Second
Circuit has addressed—the procedures undertaken by the Government to identify and segregate
any protected materials without involving the prosecution team were sufficient under the facts
and circumstances presented here.*!

Extending the application of a non-disclosure privilege under the circumstances presented
here is not necessary to effectuate the purpose of the Speech or Debate Clause “of protecting the
independence of the Legislative Branch,” Brewster, 408 U.S. at 516, and would unnecessarily
impede upon the executive branch’s responsibility to investigate criminal activity, see United
States v. Calandra, 414 U.S. 338, 343 (1974) (noting that traditionally grand juries are accorded
“wide latitude to inquire into violations of criminal law.”), thereby effectively making “Members
of Congress super-citizens, immune from criminal responsibility,” Brewster, 408 U.S. at 516;
see also id. at 528 (“The Speech or Debate Clause does not prohibit inquiry into illegal conduct
simply because it has some nexus to legislative functions. . . . The only reasonable reading of the

Clause, consistent with its history and purpose, is that it does not prohibit inquiry into activities

 

*! Even though the accounts and devices in question “were the personal property of their users (not the Congressman
or the House of Representatives), when searching materials belonging to current or former congressional staffers,
the Government took care to assign members of the U.S. Attorney’s Office other than the prosecutors working on
the investigation to conduct an initial review and filter out materials that could arguably concern legislative
activity.” (Govt. Opp. 32.) Therefore, any materials that were arguably legislative materials potentially protected
by the Speech or Debate Clause were not reviewed by or made available to the prosecution team. (See 5/10 Tr. 77—
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that are casually or incidentally related to legislative affairs but not a part of the legislative
process itself”); Gravel, 408 US. at 626 (“While the Speech or Debate Clause recognizes
speech, voting, and other legislative acts as exempt from liability that might otherwise attach, it
does not privilege either Senator or aide to violate an otherwise valid criminal law in preparing
for or implementing legislative acts.”). Moreover, the remedy sought by Defendant Collins
would permit him to rummage through the data from the personal electronic devices and
accounts of his current and former staff members, As a matter of common sense, most of this
data is undoubtedly personal in nature and entirely unrelated to the official work performed by
the current and former staff members on behalf of Defendant Collins.? (See Govt. Opp. 27, 31.)
Defendant Collins has not provided any evidence to rebut this notion, Indeed, Defendant Collins
fails to identify—with the exception of material related to the OCE investigation and a document
containing talking points with one heading stating “Questions About Legislation that Might
Affect Innate,” (5/10/10 Tr. 22-23, 35), discussed below—any materials produced by the
Government in discovery that could be considered protected material under the Speech or Debate
Clause. Moreover, as noted, the cases cited by Collins are inapposite since none of them resulted
in a court permitting either (1) the review in advance by an elected official of electronic data

gathered from the personal electronic devices and accounts of current and/or former legislative

 

22 Despite the asserted importance of the Speech or Debate Clause by Defendant Collins in his briefing and during
oral argument and its importance generally to the House of Representatives, as evidenced by its submission of an
amicus brief related to the Speech or Debate Clause, “there is no formal guidance with regard to the use of personal
email for the conduct of official business ... [aJnd there are no mechanisms in place to even enforce it if there were
guidance.” (5/10/19 Tr. 4.) Decisions related to the use of personal email to conduct official business are left to
“the particular member or to the particular committee.” (/d. at 4~5.) Defendant Collins provides no guidance to his
staff and has no requirements for his staff related to the use of personal emails to conduct official business. (Jd. at
5.) Defendant Collins argues that these facts do not “particularly matter[] for purposes of the legal analysis [related
to his motion].” (/d.) In light of my rulings related to the Speech or Debate Clause contained in this Opinion &
Order I do not address this assertion. However, I note that there are reasons to have guidance with regard to the use
of personal email accounts to conduct official business separate and apart from the impact such guidance may or
may not have on Speech or Debate Clause assertions by a member of Congress, including securing sensitive
information and personal information of constituents.

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staffers pursuant to a search warrant or (2) the production of all electronic data gathered from the
personal electronic devices and accounts of current and/or former legislative staffers pursuant to
Rule 16 of the Federal Rules of Criminal Procedure or any other authority.??7 Such a result would
not only be legally improper, as noted above, but would also be impractical and unworkable. If
the remedy Defendant Collins seeks were the appropriate relief in each case where the
Government issued a subpoena or obtained a search warrant for a current or former staffer’s
personal electronic device or accounts, the materials obtained or seized would be subject to
review by the member of Congress regardless of the nature of the underlying investigation.
Indeed, since there are no restrictions placed on Defendant Collins’s use of his personal email
account to conduct official business, (see 5/10/19 Tr. 4-5), under the theory espoused by
Defendant Collins any time the Government obtained a search warrant or issued a subpoena
directed to an individual with whom Defendant Collins may have communicated, he would be
entitled to review those communications in advance of the Government. The law in this Circuit
does not support such a result, nor, based upon my reading, does the law in the D.C. Circuit, and,
in any event, the cases in the D.C. Circuit addressing the non-disclosure privilege—as discussed
above—involve unique factual circumstances not present here.

Defendant Collins is also not entitled to interview memoranda, notes of interviews, or
grand jury minutes of his current and/or former staffers related to the Indictment. First, he has

not made a showing that the memoranda, notes, or grand jury minutes are likely to contain

 

23 1 note that it appears that the application of case law cited by Defendant Collins for the proposition that the Speech
or Debate Clause includes a non-disclosure privilege would at most result in the return of any seized privileged
materials. See Ravburn, 497 F.3d at 664, 666 (“The Speech or Debate Clause protects against the compelled
disclosure of privileged documents to agents of the Executive, but not the disclosure of non-privileged materials... .
Accordingly, we hold that the Congressman is entitled to the return of all legislative materials (originals and copies)
that are protected by the Speech or Debate Clause seized from Rayburn House Office Building Room 2113 on May
20-21, 2006.”).

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protected material. As an initial matter, the elements of the charges contained in the Superseding
Indictment do not require proof that Defendant Collins is a member of Congress** or require the
admission of documents or testimony covered by the Speech or Debate Clause. (See 5/10/19 Tr.
28-32.) Therefore, the charges in the Superseding Indictment would not require the Government
to have asked about material protected by the Speech or Debate Clause. In addition, Defendant
Collins, despite having access to certain of his current and former staffers, (5/10/19 Tr, 44), has
not submitted affidavits from any staffers that they were asked about protected materials during
interviews or during grand jury testimony. Second, “the Government took the prophylactic
measure of explicitly advising interviewees not to disclose information regarding the legislative
activities of the Congressman or his office.” Third, counsel for Defendant Collins advised
attorneys for at least two staffers in writing that as a Congressman he was asserting “all
Constitutional, evidentiary and testimonial privileges that emanate from the Speech or Debate
Clause of the U.S. Constitution,” and requested that the staffers “take great care to assert to the
fullest extent provided for by law the Speech or Debate Clause privilege and to take no action
that could be a construed waiver of that privilege.” (7/22/18 Ltr. 1; 7/24/18 Ltr. 1.) Fourth,
with regard to materials that qualify as Jencks Act/§ 3500 material, Defendant Collins has not
provided a sufficient reason to circumvent the timing of disclosure called for by statute. Fifth, I
have reviewed the notes and interview memoranda at issue and find that they do not contain

material protected by the Speech or Debate Clause. Sixth, Defendant Collins concedes that the

 

4 Defendant Collins concedes that use of the fact he was and is a member of Congress “is not precluded by the
privilege by itself” (5/10/19 Tr. 40.)

25 «7/22/18 Ltr.” refers to a letter from Jonathan R. Barr, Esq. to Timothy W. Hoover, Esq. “7/24/18 Ltr.” refers to a
letter from Jonathan R, Barr, Esq. to James W. Grable, Jr., Esq. These letters were transmitted as exhibits to a letter
from counsel for Defendant Collins, dated May 3, 2019. Counsel for Defendant Collins is directed to either file the
May 3 letter and exhibits on the docket or submit a request to file redacted versions of the letter and exhibits
consistent with my individual rules.

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grand jury minutes and exhibits related to the Superseding Indictment do not contain anything
protected by the Speech or Debate Clause. (8/26/19 Ltr. 3-4 (“Having reviewed the Grand Jury
materials related to the Superseding Indictment that were produced by the Government on
August 7, 2019, Congressman Collins does not contend that they contain anything protected by
the Speech or Debate Clause.”).)

b, The Superseding Indictment Does not Violate the Speech or
Debate Clause

The law is clear in this Circuit that an indictment “is not subject to dismissal on the
ground that there was ‘inadequate or incompetent’ evidence before the grand jury.” Myers, 635
F.2d at 941. Here, Defendant Collins concedes that the grand jury minutes and exhibits related
to the Superseding Indictment do not contain anything protected by the Speech or Debate Clause.
(8/26/19 Ltr. 3-4.) Therefore, Defendant Collins has no legal basis to challenge the Superseding
Indictment or the grand jury process that led to its filing on the basis that the Speech or Debate
Clause has been violated.

Defendant Collins claims that “the Government’s Superseding Indictment maneuver is
telling and troubling because it is a tacit admission that a violation occurred and it is a thin,
eleventh-hour attempt to sidestep the consequences of that violation by suggesting that they did
nothing wrong.” (/d. at 5.) There is nothing “troubling” or nefarious about Government’s
decision to seek a Superseding Indictment. The desire to avoid pretrial litigation was a
legitimate reason to seek to obtain the Superseding Indictment, particularly where such pretrial
litigation might have included an interlocutory appeal to the Second Circuit, and thereby
potentially a delay in the trial. In any event, J have reviewed the grand jury minutes and exhibits
related to the return of the Indictment and find that the grand jury that returned the Indictment

was presented with “significant and sufficient evidence unprotected by the Speech or Debate

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Clause.” Murphy, 642 F.2d at 700. Contrary to Defendant Collins’s assertion, no violation of
the Speech or Debate Clause occurred related to the grand jury process that led to the return of
the Indictment. Therefore, under the law in this Circuit the Indictment would not have been
subject to dismissal.
c. Evidence to be Offered at Trial

Rule 16 of the Federal Rules of Criminal Procedure provides, in part, that the
Government must permit a defendant to “inspect and copy or photograph books, papers,
documents, data, photographs, tangible objects, buildings or places, or copies or portions of any
of these items” in its “possession, custody, or control” if: (i) the item is material to preparing the
defense; (ii) the government intends to use the item in its case-in-chief at trial; or (iii) the item
was obtained from or belongs to the defendant.” Fed. R. Crim. P. 16(a)(1)(E)(-iii). Therefore,
to the extent that the Government intends to offer any materials protected by the Speech or
Debate Clause, it is required to produce those materials to Defendant Collins. The only
documents Defendant Collins has identified in the Rule 16 discovery produced by the
Government that he claims might be protected by the Speech or Debate Clause are (1)
documents used and/or generated by the OCE in connection with its investigation of Defendant
Collins, and (2) talking points produced by a current or former staff member that included the
heading “Questions About Legislation that Might Affect Innate.” (5/10/10 Tr. 22-23, 35.)
These documents raise the following questions: (1) is the mere fact that Defendant Collins was
under investigation by the OCE protected by the Speech or Debate Clause; (2) is the fact that
Defendant Collins was interviewed in connection with the investigation by the OCE protected by
the Speech or Debate Clause; (3) is the transcript of the interview of Defendant Collins by the

OCE protected by the Speech or Debate Clause; (4) are the transcripts and documents from the

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OCE investigation of Defendant Collins protected by the Speech or Debate Clause; and (5) were
any current or former staff members asked by the Government about whether any legislation that
might affect Innate.

{ find that the fact that Defendant Collins was the subject of an OCE investigation is not
protected by the Speech or Debate Clause. The existence of the OCE investigation is not itself a
legislative act, and the fact of the investigation is not “an integral part of the deliberative and
communicative processes by which Members participate in committee and House proceedings
with respect to the consideration and passage or rejection of proposed legislation or with respect
to other matters which the Constitution places within the jurisdiction of either House.” Gravel,
408 U.S, at 625. Similarly, I find that the fact that Defendant Collins was interviewed in
connection with the investigation by the OCE also is not protected by the Speech or Debate
Clause. id. However, whether the transcript of the interview of Defendant Collins by the OCE,
and the documents used in and transcripts generated during the OCE investigation of Defendant
Collins are protected by the Speech or Debate Clause is a much closer question.” Assuming that
materials generated by an OCE investigation are protected by the Speech or Debate Clause, the
case law appears to suggest that [ should conduct a review of the transcripts and documents at
issue in order to make a determination if the underlying investigation related to a legislative act
protected by the Clause. See United States v. Rose, 28 F.3d 181, 188 (D.C. Cir. 1994); Ray v.
Proxmire, 581 F.2d 998, 1000 (D.C. Cir.1978). It does not appear as if either party provided me
with copies of these materials and J have not undertaken such a review; therefore, I decline to

make a ruling that these documents are or are not protected by the Speech or Debate Clause.

 

26 Even if the OCE materials might be protected by the Speech or Debate Clause, that protection would not be based
upon a non-disclosure privilege to the extent that the disclosure of these documents was not compelled. It is my
understanding that these documents were and are available on a website accessible to the public.

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However, I exercise my inherent authority related to managing my docket and the trial schedule
in this case, see Dietz v. Bouldin, 136 S. Ct. 1885, 1891 (2016), to preclude the Government from
introducing (1) Defendant Collins’s OCE interview, (2) transcripts generated during the OCE
investigation; and (3) documents used during the OCE investigation.”’ Finally, with regard to
whether any current or former staff members were asked by the Government about whether any
legislation might affect Innate, it does not appear from my review of the interview notes and
memoranda generated from the interviews of current and former staff members that such
questions were asked. In any event, I preclude the Government from questioning witnesses
about the “effect” of legislation—to the extent any such legislation was being considered—on
Innate.

To the extent that the Government intends to offer the statement issued by one of
Defendant Collins’s staff to a reporter that “Neither Christopher Collins, [nor] his daughter . . .
have sold shares prior, during or after Innate’s recent stock halt,” and that “Cameron Collins has
liquidated all his shares after the stock halt was lifted, suffering a substantial financial loss,” (Ind.
* 42), I find that the statement is not protected by the Speech or Debate Clause.”* | also find that
the statement by Defendant Collins about the press coverage that “We want this to go away,”
(id.), is similarly not protected by the Speech or Debate Clause. Although these statements were
made by Defendant Collins and a member of his staff, they were not made in the House or
Senate, and do not relate to a legislative act by Defendant Collins or more generally of the House

or Senate. Instead, the statements were made to a member of the press and relate to actions taken

 

271 make this ruling in an effort to avoid issuing a decision that might trigger a right to an interlocutory appeal, see
Mvers, 635 F.2d at 935 (citing Helstoski v. Meanor, 442 U.S, 500, 508 (1979)), which might impact the start of the
trial on February 3, 2020.

28 As noted above, references to this statement do not appear in the Superseding Indictment.

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by Defendant Collins and his family members in their personal capacities. Therefore, they are
not protected by the Speech or Debate Clause. In making this ruling I am not ruling that the
statements are admissible, and leave any ruling on this issue until such time as an in imine ruling
related to the admissibility of the statements is sought.

IV. Conclusion

Because I find that (1) the Government has complied with its Brady obligation as it
relates to the carved out SEC materials, and (2) the Government and the SEC were not engaged
in a joint investigation, I find that the Government has no Brady obligation as to any documents
in the SEC’s possession. With regard to materials from Individuals, I find that (1) the
Government met its Brady obligation with regard to Brady/Rule 16 Material when it searched
Individual-5’s iCloud data for responsive documents, and (2) Defendants have provided an
insufficient justification for their argument that the Government is obligated to search Individual-
5’s iCloud data over Individual-5’s objection. Finally, I find that the Government met its Brady
obligation with regard to exculpatory statements made by two former staff members of
Defendant Christopher Collins, and is not obligated to turn over the interview notes or FBI 302s
related to those statements. Accordingly, Defendants’ motion for the production of Brady and
Rule 16 Material is DENIED.

In addition, I find that Defendant Christopher Collins is not legally entitled to the
discovery he asserts bears on the privilege established by the Speech or Debate Clause, and so
his motion to compel limited production of those materials is DENIED. However, within my
inherent authority as a district judge, I preclude the Government from introducing at trial (1)
Defendant Collins’s OCE interview, (2) transcripts generated during the OCE investigation; (3)

documents used during the OCE investigation; and (4) testimony concerning the “effect” of

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legislation—to the extent any such legislation was being considered—on Innate.

SO ORDERED.

Dated: September 6, 2019

New York, New York
We ; Ath,

Vernon S. [a
United States District Judge

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